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                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)              )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                       )
                                                                                                                         )   Master File No.
                                                                          9                                              )   CV-07-5944-SC
                                                                                                                         )
                                                                         10   This Order Relates To:                     )   ORDER ON THE STATE OF
                               For the Northern District of California
United States District Court




                                                                                                                         )   CALIFRONIA'S MOTION FOR
                                                                         11   ALL ACTIONS                                )   PERMISSIVE INTERVENTION AND
                                                                                                                         )   TO RESTORE PUBLIC ACCESS TO
                                                                         12                                              )   107 COURT RECORDS
                                                                                                                         )
                                                                         13                                              )
                                                                         14
                                                                         15           Now before the Court is the subject motion, filed by the State
                                                                         16   of California ex rel. Kamala D. Harris, Attorney General of the
                                                                         17   State of California ("the State"), ECF No. 3972 ("Mot.").             The
                                                                         18   motion is fully briefed1 and is appropriate for resolution without
                                                                         19   oral argument pursuant to Civil Local Rule 7-1(b).
                                                                         20           The State makes arguments why it should be permitted to
                                                                         21   intervene for the limited purpose of restoring public access to
                                                                         22   certain records sealed by the Court.           In sealing said records, the
                                                                         23   Court stated that it "will look favorably upon motions to intervene
                                                                         24   filed by members of the public who wish to access the sealed
                                                                         25   documents."      Order of the Court dated December 27, 2012, ECF No.
                                                                         26   1512.     In the very next sentence of that same order, the Court
                                                                         27   clarified that "[i]f such motions are filed, the Court will not
                                                                         28   1
                                                                                  See ECF Nos. 4022 ("Opp'n"), 4034 ("Reply").
                                                                               Case 3:07-cv-05944-JST Document 4060 Filed 09/17/15 Page 2 of 2




                                                                          1   hesitate to appoint a Special Master to review the documents to be
                                                                          2   unsealed, whose fee shall be paid directly by the party seeking to
                                                                          3   preserve confidentiality."     Id.   The Court has since reiterated its
                                                                          4   favorable viewpoint multiple times.       See ECF Nos. 3498, 3626, 3795.
                                                                          5        Nonetheless, now that one such long-since-contemplated motion
                                                                          6   has been filed, certain parties ask the Court to hesitate in
                                                                          7   appointing a Special Master.      See Opp'n.    The Court has reviewed
                                                                          8   the motions and "is not inclined to deny the Motion to Unseal."
                                                                          9   Opp'n at 9.   However, rather than rule on the issues in this
                                                                         10   motion, the Court is willing to accede to the requests by parties
                               For the Northern District of California
United States District Court




                                                                         11   and refer the balance of this motion to a Special Master.          See id.
                                                                         12   at 9-10; see also Reply at 8; ECF No. 3972-3.
                                                                         13        Therefore, the Court grants the State preliminary permission
                                                                         14   to intervene in the underlying action for the very limited and
                                                                         15   collateral purpose of seeking the unsealing of 107 certain records
                                                                         16   previously sealed by the Court.      Both parties expressly request
                                                                         17   Special Master Vaughn R. Walker.      Accordingly, the Court sends the
                                                                         18   motion filed by the State to Special Master Walker to review and
                                                                         19   make an independent recommendation whether permission to intervene
                                                                         20   is proper, and, if so, which (if any) of the related 107 Court
                                                                         21   records ought to be unsealed.      Should the Special Master find in
                                                                         22   favor of the State, his fees shall be paid directly by the party or
                                                                         23   parties seeking to preserve confidentiality.         Otherwise, the
                                                                         24   Special Master may allocate his fees as he deems appropriate.
                                                                         25        IT IS SO ORDERED.
                                                                         26
                                                                         27        Dated: September 17, 2015       ________________________________
                                                                         28                                            UNITED STATES DISTRICT JUDGE



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